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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                  8:06CR288
       vs.                                    )
                                              )                   ORDER
JAMES WERTS,                                  )
                                              )
                     Defendant.               )


        This matter is before the court on the motion of defendant, James Werts, to continue
trial, based on counsel's trial schedule. It does not appear, however, that counsel is
unavailable or will be unable to prepare for the November 14, 2006 trial in this case. Under
the circumstances, the court's calendar cannot accommodate the defendant's request.

       IT IS ORDERED that defendant's motion to continue trial [53] is denied.

       DATED November 1, 2006.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
